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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------- X
                                         :
SAFA ABDULRAHMAN, JAMIE DELLASALA, and   :                                   Docket No.: 15-CV-07001
CHRISTINE MAZOLA,                        :
                                         :
                           Plaintiffs,   :
                                         :                                  NOTICE OF APPEARANCE
          v.                             :
                                         :
EMPIRE STATE BANK and
                                         :
THERESA POMMERENK, individually,
                                         :
                           Defendants.   :
----------------------------------------------------------------------- X


        PLEASE TAKE NOTICE that Nancy V. Wright of Wilson, Elser, Moskowitz, Edelman

& Dicker LLP hereby appears as counsel for Defendants, EMPIRE STATE BANK and

THERESA POMMERENK in the referenced matter. Please enter this appearance and change

your records to reflect this appearance, directing all correspondence and notices to the attorney

and address below.



Dated: New York, New York
       January 7, 2016
                                                              Respectfully submitted,

                                                     WILSON, ELSER, MOSKOWITZ,
                                                     EDELMAN & DICKER LLP


                                                   By                /s/
                                                              Nancy V. Wright [NVW-7834]
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